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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

                                                         )
       ERIC COOMER,                                      )
             Plaintiff,                                  )
                                                         )    CIVIL ACTION NO. 1:21-cv-03440-KLM
       vs.                                               )
                                                         )
       MAKE YOUR LIFE EPIC, LLC, et al.,                 )
           Defendants.                                   )


             DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
                PURSUANT TO COLORADO REVISED STATUTES § 13-20-1101

                                            I.       INTRODUCTION

             Defendants’ Anti-SLAPP motion should be granted because Defendants met their burden

   to show that Colorado’s Anti-SLAPP statute applies to this matter, and Plaintiff Eric Coomer

   (“Coomer”) failed to provide evidence that Defendants (1) knew the allegedly defamatory

   statement (“Don’t worry about the election, Trump is not gonna [sic] win. I made f*#@ing sure of

   that. Hahahaha!)” was false; or (2) acted in reckless disregard of the truth. Instead, Coomer

   provided incompetent, inadmissible, and irrelevant evidence that (1) somehow QAnon is involved,

   (2) the 2020 election was secure, and (3) Coomer was threatened a number of times on Twitter or

   other social media websites.1 Coomer’s Response is also rife with misstatements of well-

   established law and fact and conspicuously ignores the fact that Eric Coomer is a proven liar.




   1
     Almost all of the evidence attached in Coomer’s Response is incompetent or inadmissible because the
   declarations constituting and/or purporting to authenticate evidence are not based on personal knowledge,
   are riddled with hearsay, or contain vast amounts of impermissible legal argument. Defendants filed a
   motion to strike these declarations, which is incorporated by reference as if fully set forth herein. See Dkt.
   No. 36.
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                                       II.    LEGAL STANDARDS

          As noted in Defendants’ Motion, Colorado’s Anti-SLAPP statute is modeled on

   California’s, and Colorado courts have therefore held it is appropriate to look to California law in

   applying Colorado’s statute. Stevens v. Mulay, No. 19-CV-01675-REB-KLM, 2021 WL 1300503,

   at *4 (D. Colo. Feb. 16, 2021), report and recommendation adopted, No. 19-CV-01675-REB-

   KLM, 2021 WL 1153059 (D. Colo. Mar. 26, 2021). California’s Anti-SLAPP statute states:

          A cause of action against a person arising from any act of that person in furtherance
          of the person’s right of petition or free speech under the United States Constitution
          or the California Constitution in connection with a public issue shall be subject to
          a special motion to strike, unless the court determines that the plaintiff has
          established that there is a probability that the plaintiff will prevail on the claim.

   CAL. CIV. PROC. CODE § 425.16 (emphasis added). Under the first prong of the statute, the parties

   agree that a defendant must make a prima facie showing that the claims arise out of a

   constitutionally-protected activity. Braun v. Chronicle Publ’g Co., 61 Cal. Rptr. 2d 58, 61 (Cal.

   Ct. App. 1997); Forever 21, Inc., 2014 WL 722030, at *4. To meet this burden, a defendant need

   only demonstrate that the act underlying plaintiff’s cause of action fits one of the enumerated

   categories in the Anti-SLAPP statute. Braun, 61 Cal. Rptr. 2d at 61.

          The parties disagree, however, on the plaintiff’s burden under the second prong of the

   statute. While some California courts hold that only a prima facie showing is required, see, e.g.,

   Wilson v. Cable News Network, Inc., 444 P.3d 706, 718 (Cal. 2019), these courts do not address

   the intent behind the statute: prohibiting “lawsuits brought primarily to chill the valid exercise of

   the constitutional rights of freedom of speech and petition for the redress of grievances.” CAL.

   CIV. PROC. CODE § 425.16.




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          Other courts in California, heeding the legislature’s intent, hold that “[t]he plaintiff must

   provide admissible evidence to establish that the complaint is legally sufficient and supported by

   a prima facie showing of facts [that] sustain a favorable judgment.” Forever 21, Inc. v. Nat’l

   Stores Inc., 2:12-CV-10807-ODW, 2014 WL 722030, at *4 (C.D. Cal. Feb. 24, 2014) (internal

   quotations omitted) (emphasis added).         “If the plaintiff fails to make this showing by a

   preponderance of the evidence, the court must grant the motion to strike and award the prevailing

   defendant his or her attorney’s fees and costs.” Id. (citing Ingels v. Westwood One Broad. Servs.,

   Inc., 28 Cal. Rptr. 3d 933, 939 (Cal. Ct. App. 2005)) (emphasis added); D.N. by & through Truong

   v. Los Angeles Unified Sch. Dist., No. CV1801582ABAFMX, 2018 WL 5911763, at *3 (C.D. Cal.

   June 26, 2018), aff’d, 765 F. App’x 379 (9th Cir. 2019); Harmoni Int’l Spice, Inc. v. Bai,

   CV1600614BROASX, 2016 WL 6542731, at *8 (C.D. Cal. May 24, 2016); Chapa v. Foell,

   CV1304536BROMRWX, 2014 WL 12966284, at *3 (C.D. Cal. July 10, 2014).

          Colorado’s Anti-SLAPP statute likewise is consistent with requiring Plaintiff to prove its

   claim by a preponderance of the evidence at the motion to dismiss stage:

          A cause of action against a person arising from any act of that person in furtherance
          of the person’s right of petition or free speech under the United States constitution
          or the state constitution in connection with a public issue is subject to a special
          motion to dismiss unless the court determines that the plaintiff has established that
          there is a reasonable likelihood that the plaintiff will prevail on the claim.

   § 13-20-1101(3)(a), C.R.S (emphasis added). The Colorado legislature adopted the Anti-SLAPP

   statute to “safeguard the constitutional rights of persons to petition, speak freely, associate freely,

   and otherwise participate in government to the maximum extent permitted by law . . .” Id. Much

   like the standard to prevail for preliminary injunctive relief, which is extraordinary relief and

   particularly difficult to obtain, reasonable likelihood of success “requires the court to substantively



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   evaluate the issues as it would during trial.” Dallman v. Ritter, 225 P.3d 610, 621 (Colo. 2010).

   The trial court must “assess the proper legal standard and applicable burden of proof which would

   be required at a subsequent trial on the merits.” Rathke v. MacFarlane, 648 P.2d 648, 655 (Colo.

   1982).

            Given the language in the Colorado’s Anti-SLAPP statute, the Court should adhere to

   California law requiring plaintiff to make a showing by a preponderance of the evidence. Forever

   21, Inc., 2014 WL 722030, at *4; Los Angeles Unified Sch. Dist., 2018 WL 5911763, at *3;

   Harmoni Int’l Spice, Inc., 2016 WL 6542731, at *8; Chapa, 2014 WL 12966284, at *3.

                                            III.    ARGUMENT

   A.       Coomer’s claims are subject to Colorado’s Anti-SLAPP Statute.

            Defendants have made a prima facie showing that the acts underlying Coomer’s claims fit

   the enumerated categories spelled out in § 13-20-1101(2)(a) (II), (III), and (IV). Coomer’s

   arguments to the contrary are based on misdirection and selective quotations from caselaw.

            Coomer cites to cases about public official and public figures regarding whether something

   is a matter of public concern. See Response at ¶¶ 26-28. But this is misdirection. Whether Coomer

   was a public official or public figure is irrelevant to determining whether the challenged statements

   involved a matter of public interest. “Generally, speech involves a matter of public concern when

   it is of interest to the community, whether for social, political, or other reasons, rather than a matter

   of mere personal interest to the speaker.” Bass v. Richards, 308 F.3d 1081, 1089 (10th Cir. 2002).

   True enough, “[s]peech relating to internal personnel disputes and working conditions does not

   touch upon matters of public concern.”           Id.   “Speech about political elections, however,

   undoubtedly does.” Id. “We would be hard pressed to classify the election of a city council



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   member as anything other than a matter of great public concern.” Cragg v. City of Osawatomie,

   Kan., 143 F.3d 1343, 1346 (10th Cir. 1998). Much more so, the election of the President of the

   United States.

             Coomer’s remaining arguments are based on the false premise that Defendants’ alleged

   defamatory statements are mere “collateral allusions” to a matter of public concern.2 Coomer

   selectively quotes from the Freeman decision but omits the fundamental basis for the decision.

   Freeman v. Schack, 154 Cal. App. 4th 719 (2007). Freeman held that an attorney who was sued

   by his clients for abandoning them to represent adverse interests in the same litigation did not meet

   the first prong of the statute. Id. at 727. The Freeman court found that “[i]t is ‘the principal thrust

   or gravamen of the plaintiff’s cause of action that determines whether the anti-SLAPP statute

   applies, and when the allegations referring to arguably protected activity are only incidental to a

   cause of action based essentially on nonprotected activity, collateral allusions to protected activity

   should not subject the cause of action to the anti-SLAPP statute.’” Id. (citing Martinez v.

   Metabolife Internat., Inc. (2003) 113 Cal.App.4th 181, 188, 6 Cal.Rptr.3d 494) (emphasis added).

             In Freeman, the plaintiffs sued their lawyer for breach of his professional duties to them

   as their lawyer—which is not constitutionally protected activity. See id. Here, by contrast,

   Coomer has sued Defendants for defamation3 for saying things about the 2020 Presidential

   election. Almost by definition, that invokes the First Amendment, which is the basis for all

   protected activity under the Anti-SLAPP statute. See Orig. Compl.; § 13-20-1101(1), C.R.S.

   Unlike in Freeman, here Defendants’ speech is “the principal thrust or gravamen of [Coomer’s]


   2
       See Response at ¶ 25 (citing Freeman v. Schack, 154 Cal. App. 4th 719, 728-30 (2007)).
   3
       Coomer’s other causes of action rest on a finding of defamation. See Orig. Comp. at ¶¶ 89-103.


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   causes of action.” See Id. at 727; see also Orig. Compl. Coomer’s argument that Defendants’

   speech is merely “collateral” misinterprets the holding in Freeman and mischaracterizes the facts.

   Oltmann’s statements that he believed Coomer participated in rigging the 2020 Presidential

   election while working in a high-level position at an electronic voting machine company—

   controversial though they may be—are anything but “collateral” or “incidental” to the 2020

   Presidential election.

             Likewise, Coomer’s argument that he “is not the election,” but rather is a mere “private

   individual” completely misses the point.4 As alleged by Oltmann, Coomer—an employee at

   Dominion Voting Systems—said on an Antifa conference call: “Don’t worry about the election,

   Trump is not gonna [sic] win. I made f*#@ing sure of that. Hahahaha.”5 After the election,

   Oltmann discovered Coomer’s Facebook (“FB”) page wherein he made numerous vile and hateful

   posts about then President Trump, which were consistent with the statements Oltmann claimed

   Coomer made on the Antifa conference call.6 The combination of these two pieces of evidence—

   one disputed and one admittedly true—is undoubtedly of “interest to the community.” Bass, 308

   F.3d at 1089. So much so, in fact, that Coomer attached an exhibit to a pleading in his state lawsuit

   identifying at least 53 separate publications regarding Oltmann’s statements concerning Coomer.7




   4
       Response at ¶ 26-28.
   5
       Ex. 4 to Anti-SLAPP Motion.
   6
     Coomer has a Ph.D. and has worked in technology his entire career. He holds patents for Dominion. With
   over 300 FB followers, he cannot credibly claim his FB posts were only to his private family members and
   friends or that the posts would never become public.
   7
     Ex. A. Coomer also argues that Defendants made Coomer a public figure. Not so. If he were not a public
   figure before, the 53 publications about him and his alleged statements that were published prior to
   Defendants’ alleged defamatory statements certainly made him a public figure.


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   Notably, all 53 publications were made before Defendants’ alleged defamatory statements.8 The

   challenged speech is not “a matter of mere personal interest to [Coomer].” Id. Nor is it related

   solely to Coomer’s position within Dominion.9 And if speech related to a city council member is

   a matter of great public concern, speech related to the election of the President of the United States

   must be of utmost public concern. Cragg, 143 F.3d at 1346. The only “dangerous precedent”

   being requested here is by Coomer.10

   B.        Coomer has failed to provide the Court with evidence that he has a reasonable
             likelihood of success to show Defendants acted with actual malice.

             Because Defendants have met their burden to show that the Colorado Anti-SLAPP statute

   applies, the burden shifts to Coomer to show that he has a reasonable likelihood of success on his

   defamation claim by showing Defendants acted with actual malice by a preponderance of the

   evidence. He has completely failed to do so.

             Coomer begins his argument by stating that (1) it is a verifiable fact that he was not on the

   Antifa conference call, (2) he did not subvert the results of the election, (3) Oltmann had no

   personal knowledge of the call, and (4) every statement made by Defendants was a false statement

   of fact.11 The only evidence presented by Plaintiff to substantiate these claims was a declaration

   from Eric Coomer, who is an admitted liar.12



   8
       Id.
   9
     Coomer was the Director of Product Security and Strategy for Dominion. He made multiple public
   appearances on behalf of Dominion and testified at length for Dominion in the Curling litigation. Coomer
   was far more than just an “average” employee.
   10
        Response at ¶ 28.
   11
        Response at ¶¶ 35-36.
   12
     As discussed above, Defendants object to portions of Coomer’s affidavit as inadmissible. The Court
   should further disregard any admissible portions of the affidavit based on Coomer’s utter lack of credibility.


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             Coomer’s lies are not one-off occurrences; they are a reflection of his lack of truthfulness.

   Eric Coomer initially penned an op-ed for the Denver Post unequivocally stating that he did not

   author the FB posts that described his vitriolic hatred for then-President Trump.13 This was a lie.

   Later, the New York Time article published a devastating admission made by Coomer: “the

   Facebook posts were, in fact, authentic.”14 Coomer later lied to law enforcement after he drove

   his vehicle into a building in his hometown of Salida, Colorado.15 Coomer has proven he is willing

   to say anything to extricate himself from the consequences of his own words and actions. Coomer

   has no credibility and neither does his declaration attached to the Response as P1. Without

   competent evidence, Coomer cannot meet his evidentiary burden.

             Even if Coomer had competent evidence, that evidence does not show actual malice. It is

   irrelevant whether Oltmann’s alleged defamatory statements are false. Coomer disputes the facts

   of the challenged statements. If this were enough to overcome the Anti-SLAPP statute, the statute

   becomes meaningless. If truth were the only defense to defamation, then decades of First

   Amendment jurisprudence since New York Times Co. v. Sullivan, 376 U.S. 254 (1964), would be

   upended. Sullivan was clear: When dealing with a matter of public concern, the actual malice

   standard applies. Id. at 280. Under the actual malice test, Coomer must provide evidence that

   Defendants knew their speech was false or acted with reckless disregard of whether it was false or

   not. Id.




   13
        Ex. 7 to Anti-SLAPP Motion.
   14
        Ex. 8 to Anti-SLAPP Motion (emphasis added).
   15
        Ex. 9 to Anti-SLAPP Motion.


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              Coomer cannot and has not met this burden. The genesis of the complaint by Coomer is

   the statement: “Don’t worry about the election, Trump is not gonna [sic] win. I made f*#@ing

   sure of that. Hahahaha.” Coomer argues that election challenges have been defeated across the

   country and, therefore, the statement is inherently improbable. Coomer misses the point. The

   point is not whether Coomer could or did change the outcome of the 2020 Presidential election.

   The point, rather, is whether it was inherently improbable that Coomer would participate in an

   Antifa call and brashly claim the ability to do so. Clearly that is not inherently improbable.

   Spacecon Specialty Contractors, LLC. v. Bensinger, 782 F. Supp. 2d 1194, 1202 (D. Colo. 2011),

   aff'd sub nom. Spacecon Specialty Contractors, LLC v. Benninger, 713 F.3d 1028 (10th Cir. 2013).

   Coomer posted his support for Antifa on his FB page.16 Coomer repeatedly published vile and

   hateful ideas and posts about then-President Trump.17 Coomer is a recovering drug addict.18

   Coomer is a liar.19 Coomer will say and do anything.20 The evidence shows that it is not inherently

   improbable for Defendants to believe that Coomer made those statements. Nor has Plaintiff shown

   that Defendants acted in reckless disregard of the truth when they believed Oltmann. Because

   Coomer has not provided evidence that Defendants subjectively knew Coomer did not make the

   statement, “Don’t worry about the election, Trump is not gonna [sic] win. I made f*#@ing sure of

   that. Hahahaha,” nor that they acted in reckless disregard of the truth about whether Coomer did




   16
        Ex. 5 to Anti-SLAPP Motion.
   17
        Id.
   18
        Ex. 8 to Anti-SLAPP Motion.
   19
        Exs. 6, 7, and 8 to Anti-SLAPP Motion.
   20
        Ex. 9 to Anti-SLAPP Motion.


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   or did not make that statement, Defendants Special Motion to Dismiss pursuant to C.R.S. § 13-20-

   1101 must be granted.

    DATED: April 27, 2022                            Respectfully submitted,

                                                     DANIELS & TREDENNICK PLLC

                                                     /s/ Douglas A. Daniels
                                                     Douglas A. Daniels
                                                     Texas State Bar No. 00793579
                                                     doug.daniels@dtlawyers.com
                                                     Heath A. Novosad
                                                     Texas Bar No. 24037199
                                                     heath.novosad@dtlawyers.com
                                                     6363 Woodway Drive, Suite 700
                                                     Houston, Texas 77057
                                                     (713) 917-0024 (Telephone)
                                                     (713) 917-0026 (Facsimile)

                                                     Attorneys for Defendants



                                   CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the foregoing instrument was served upon
   all parties of record through the Court’s CM ECF system on April 27, 2022.

                                                     /s/ Douglas A. Daniels
                                                     Douglas A. Daniels




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